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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                  )

                                                          )
                  v.
                                                          )               Criminal No. 1:23-cr-00160-RC-1

DANIEL BALL,                                              )

                 Defendant.                                )

         DEFENDANT’S MOTION TO DISQUALIFY GOVERNMENT COUNSEL

         Daniel Ball, by and through undersigned counsel, respectfully requests that this Court

disqualify Assistant U.S. Attorney Adam Dreher as government counsel in Mr. Ball’s case and

prohibit him from future involvement in Mr. Ball’s case beyond administrative actions necessary

to transfer the case to a new lead Assistant U.S. Attorney.

                                                  DISCUSSION1

         “The authority of federal courts to disqualify attorneys derives from their inherent power

to preserve the integrity of the adversary process.” United States v. Prevezon Holdings Ltd., 839

F.3d 227, 241 (2d Cir. 2016) (quoting Hempstead Video, Inc. v. Inc. Vill. of Valley Stream, 409 F.3d

127, 132 (2d Cir. 2005)). “The disqualification of [g]overnment counsel is a drastic measure and

a court should hesitate to impose it except where necessary.” United States v. Bolden, 353 F.3d

870, 878 (10th Cir. 2003) (quoting Bullock v. Carver, 910 F. Supp. 551, 559 (D. Utah 1995)).




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  This Motion is to serve as a starting point for the parties and the Court to engage in a discourse during the status
conference taking place later today; accordingly, if the Court would find it helpful for Mr. Ball to further brief on
authorities and arguments in support of his request, we would ask that the Court allow for Mr. Ball to rely on additional
arguments and authorities where appropriate. Moreover, Mr. Ball incorporates by reference all of Mr. Ball’s docketed
filings (including accompanying attachments) in this case. Relatedly, the various arguments (including factual
examples) herein lend support to each other and should be treated as incorporated into an argument where appropriate,
even when not specifically provided.
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Despite defense counsel’s best efforts to remedy the situation, disqualification of AUSA Dreher is

necessary.

          Various ethical and legal considerations exist that attorneys must abide by. Some are

specific to prosecutors. Some are universal. AUSA Dreher has continuously failed to act within

the bounds of his ethical and legal duties in Mr. Ball’s case; this has sincerely jeopardized the

integrity of the adversary process. While we believe the Court will ultimately dismiss this case

with prejudice on the basis of selective prosecution, vindictive prosecution, or the like in a pretrial

posture based on such conduct, in the meantime, the Court must disqualify AUSA Dreher as

counsel for the government.

   I.        ETHICAL CONSIDERATIONS

          A state’s ethical rules equally apply to federal prosecutors and other attorneys who practice

in the state. See 28 U.S.C. § 530B(a); see also United States v. Ford, 176 F.3d 376, 381 (6th Cir.

1999) (considering whether federal prosecutor practicing in Kentucky should have been

disqualified under Kentucky law). Moreover, there are, of course, other standards by which a

prosecutor and/or attorney must abide or that are otherwise informative when assessing conduct.

The rules of ethics in D.C. and other applicable ethical standards have been pervasively and

shamelessly offended in Mr. Ball’s case, as discussed in brief below.

                A. Rule 3.8 of the D.C. Rules of Professional Conduct

          Rule 3.8 prohibits prosecutors from invidiously discriminating against any person, failing

to disclose exculpatory information, and providing false information to a grand jury, among other

things.

          Other rules manifest similar prohibition and guidance. Standard 3-1.6(a) of the American

Bar Association’s Criminal Justice Standards prohibits prosecutors from using “improper




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considerations, such as partisan or political or personal considerations, in exercising prosecutorial

discretion.” It further provides that “[a] prosecutor should strive to eliminate implicit biases, and

act to mitigate any improper bias or prejudice when credibly informed that it exists within the

scope of the prosecutor’s authority.”

       Standard 3-1.2(b) of the American Bar Association’s Criminal Justice Standards provides

that “[t]he primary duty of the prosecutor is to seek justice within the bounds of the law, not merely

to convict.” It elaborates, “[t]he prosecutor serves the public interest and should act with integrity

and balanced judgment to increase public safety both by pursuing appropriate criminal charges of

appropriate severity, and by exercising discretion to not pursue criminal charges in appropriate

circumstances.” Further, it prohibits prosecutors from failing to respect the constitutional and legal

rights of all persons, including defendants.

       Discussion with the Federal Public Defender and various federal appellate and trial counsel

has confirmed many times over our position that this case—including the various flaws in the

government’s investigation and prosecution of it—is one of great factual and legal complexity. Of

course, as the government boasted during its first meeting with defense counsel, in sum, this is the

first explosives case charged in the district in over 20 years. AUSA Dreher even asked in a manner

that was, respectfully, quite rude, defense counsel (a young female, who does not walk around

handing out her resume filled with lines of text which only touch the surface of her years of

dedicated national security expertise), “How did you get this case?!” At the outset, AUSA Dreher’s

motives were concerning.

       AUSA Dreher has acted in stark contrast to such mandates. In addition to the

aforementioned, we find it necessary to bring to the Court’s attention that he also reached out to

the D.C. Jail to inquire about experts visiting Mr. Ball, without the consent of defense counsel.




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              B. Standard 3-1.7(a) of the American Bar Association’s Criminal Justice
                 Standards

       Under this rule, prosecutors should know and abide by the ethical rules regarding conflicts

of interest and be sensitive to facts that may raise conflict issues. When a conflict requiring recusal

exists and is non-waivable, the rule provides that the prosecutor should recuse from further

participation in the matter and the office should not go forward until a non-conflicted prosecutor

is in place. AUSA Dreher’s hostility towards Mr. Ball and his beliefs has created an undeniable

and immovable conflict of interest.


              C. Rule 3.7 of the D.C. Rules of Professional Conduct

       AUSA Dreher is functionally a witness in Mr. Ball’s selective and vindictive prosecution

defense. (Such also serves a separate basis to find a conflict of interest.) Accordingly,

disqualification is required on this ground as well. See, e..g., In re Flynn, 961 F.3d 1215, 1233

(D.C. Cir.), reh’g en banc granted, order vacated, No. 20-5143, 2020 WL 4355389 (D.C. Cir. July

30, 2020), and on reh’g en banc, 973 F.3d 74 (D.C. Cir. 2020) (Wilkins, J., dissenting) (citation

omitted) (“[C]ourts have allowed not just plain hearings (or oral arguments) on such motions to

dismiss, but evidentiary hearings where the prosecutor is subject to questioning under oath.”).

              D. A Prosecutor’s Bandwidth

       Standard 3-1.9(a) of the American Bar Association’s Criminal Justice Standards provides

that “[t]he prosecutor should act with diligence and promptness to investigate, litigate, and dispose

of criminal charges, consistent with the interests of justice and with due regard for fairness,

accuracy, and rights of the defendant, victims, and witnesses.” Accordingly, it also requires that

“[t]he prosecutor’s office should be organized and supported with adequate staff and facilities to

enable it to process and resolve criminal charges with fairness and efficiency.”




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       Similarly, Standard 3-1.8(a) of the American Bar Association’s Criminal Justice Standards

prohibits prosecutors from carrying a workload “that, by reason of its excessive size or complexity

interferes with providing quality representation, endangers the interests of justice in fairness,

accuracy, or the timely disposition of charges, or has a significant potential to lead to the breach of

professional obligations.”

       AUSA Dreher declined to reproduce discovery or an organized and/or searchable index to

defense counsel on more than one occasion after defense counsel made such request based on her

concern that she did not have all the discovery because her prior firm appeared to have not

preserved the entire case file for Mr. Ball. AUSA Dreher insisted he did not have time to

accommodate defense counsel’s request due to other case obligations. (Notably, while relatively

voluminous, the discovery productions Ms. Collins requested to be produced only involved three

productions.) Although Ms. Collins was Mr. Ball’s lead counsel at Price Benowitz, the fact that

she left the matter and was re-retained triggered the government’s discovery obligation to produce

all discoverable materials to her. AUSA Dreher scoffed at this obligation and disparagingly insisted

Ms. Collins was the one with “unfair and unreasonable” expectations. He further commented that

he did not have the time to

       Ms. Collins is a solo practitioner. AUSA Dreher has the resources of the U.S. government

at his disposal; the USAO has paralegals, interns, assisting case agents, and plenty of attorneys.

There is undeniable no reason for AUSA Dreher to decline a simple request to produce the three

discovery productions it is constitutionally obligated to provide. Particularly when every single

discovery request by defense counsel in this case has been fruitful and prompted disclosure of

materials, many of which the government never even planned to disclose.

              E. Standard 3-1.9(c) of the American Bar Association’s Criminal Justice
                 Standards



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       Standard 3-1.9(c) of the American Bar Association’s Criminal Justice Standards prohibits

prosecutors from unreasonably opposing requests for continuances from defense counsel. Almost

every, if not every, request to continue or extend—no matter hour brief (e.g., one day, one hour)—

has been opposed. When defense counsel’s dog suffered a spinal cord injury and became paralyzed,

requiring emergency surgery to prevent permanent paralysis or death; the government opposed.

When defense counsel had debilitating kidney stone symptoms; the government opposed. A

defense expert went MIA a day or two before the disclosure deadline; the government opposed. If

these circumstances do not warrant the government’s consent or at least it’s decision to take no

position a brief continuance or extension, what circumstances would?

              F. Rule 3.4 of the D.C. Rules of Professional Conduct

       Rule 3.4(a) of the D.C. Bar’s Rules of Professional Conduct prohibits lawyers from

obstructing another party’s access to evidence if the lawyer reasonably should know that the

evidence is or may be the subject of discovery or subpoena in any pending or imminent proceeding.

Relatedly, under Rule 3.4(d), a lawyer is prohibited from failing to “make reasonably diligent

efforts to comply with a legally proper discovery request by an opposing party.” Where an attorney

disobeys an obligation under the rules of a tribunal, including discovery mandates, the attorney

also violates Rule 3.4(c).

        AUSA Dreher’s continued disinterest in and aversion to providing legally mandated

discovery disclosures to Mr. Ball and his counsel runs afoul of these rules. There are unrefutably

exculpatory and impeachment materials that the government has previously denied defense

counsel access to, and this trend continues. And even after it decides to disclose certain materials,

it maintains it did so despite the materials not falling within its discovery obligations. The

government’s position and conduct are both deeply troubling and constitutionally violative.



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       The government has made the discovery process an extremely time-consuming endeavor

for defense counsel, relentlessly placing obstacles and objections in the way; this includes constant

backpedaling from its prior assurances that it will assist the defense in obtaining certain materials

it believed in the first instance were discoverable.

       In each instance, AUSA Dreher’s conduct represents a stark contrast of the interests of

justice and fair competition contemplated by rules such as these.

              G. Rules and Standards Regarding Conduct Involving Defense Counsel and
                 the Court

       Under various rules and standards, attorneys must treat opposing counsel and the Court

with respect and refrain from material misrepresentations. See, e.g., Rule 3.3 of the D.C. Rules of

Professional Conduct

       In this case, the government has continuously misrepresented facts and law to the Court

and to counsel. For instance, the government previously failed to disclose all the enclosures it

submitted with its expert disclosures the night of September 10, 2024 despite its previous

assurances that it had disclosed all expert materials. Defense experts thus required more time to

review such materials given the Court’s directive to submit a single expert report for each expert.

See ECF No. 34.

       The government has also pervasively treated counsel with disrespect, sometimes

amounting to bullying, and gone back on its word. An example of the former was a conversation

the government had with AUSA Dreher and the previous AUSA on the case. Following the call,

the other AUSA called Ms. Collins to apologize on how rude and inappropriate AUSA Dreher

behaved towards her. An example as to the latter, the government went back on its word as to the

timing it would entertain a plea deal.




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         There is a conflict of interest at play that AUSA Dreher has not been able to overcome, and

we are confident he will not be able to overcome.

   II.      CONSITUTIONAL CONSIDERATIONS

         Mr. Ball has a forthcoming motion to dismiss and motions to suppress that will set forth an

overview of the pervasive government misconduct that has taken place in his case. Some of this

misconduct has already been addressed on the record. See, e.g., ECF No. 53.

         Indeed, defense counsel has made various references to the government’s selective and

vindictive prosecution of Mr. Ball. However, to remind the Court, one such example of vindictive

prosecution is as follows: after Mr. Ball’s denial of a disparately severe plea offer and expression

of his intent to engage in a selective prosecution argument, AUSA Dreher engaged in hush hush

dealings that somehow resulted in a prosecution for felon in possession in another district after

over a year following the search where the purported firearm was located. AUSA Dreher declined

to allow defense counsel to even know the name of the prosecuting attorney in the Middle District

prior to indictment to discuss a potential pre-indictment dismissal. And, notably, there is significant

information in the discovery in Mr. Ball’s January 6 case to undermine the validity of a felon in

possession charge, which the Middle District does not appear to be privy to. See also Rule 3.8 of

the American Bar Association Rules of Professional Conduct. In sum, without any reference being

made to defense counsel of the second prosecution previously, a prosecution in another jurisdiction

springs up despite sincere questions as to the legitimacy of such a prosecution.

                                          CONCLUSION

         WHEREFORE, Daniel Ball, by and through counsel, respectfully requests the

aforementioned relief.




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                                                   Respectfully submitted,

                                                   _________/s/_______________
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 29th day of October 2024, I caused a true and correct

copy of the foregoing Motion to be delivered via CM/ECF to all parties.


                                                   _________/s/_______________
                                                   Amy C. Collins




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